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                                                                                   U S DISTRICT COURT
                                                                              EASTERN DISTRICT ARKANSAS
                                                                                      FILED
                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA                      )
                                              )
V.                                            )         No. 4:19-CR-00405-JM
                                              )
DERECK NEELY                                  )

                                     PLEA AGREEMENT

        The United States Attorney for the Eastern District of Arkansas, Cody Hiland, by and

through Chris Givens, Assistant United States Attorney, and DERECK NEELY, defendant,

represented by the undersigned counsel, hereby agree to the following terms and conditions in

connection with the above referenced proceedings.

        1.      GUILTY PLEA: The defendant will enter a guilty being a Felon in Possession

of a Firearm, a violation of Title 18, United States Code, Section 922(g), as set forth in Count One

of the Indictment. This plea agreement is pursuant to Federal Rule of Criminal Procedure

1 l(c)(l)(A) and 1l(c)(l)(B).

        2.      ELEMENTS OF THE CRIME: The parties agree the elements of the offense to

which the defendant will plead guilty are:

                A.     The defendant had been convicted of a crime punishable by imprisonment

for a term exceeding one year;

                B.     Thereafter, knowing that he had been convicted of a crime punishable by

imprisonment for more than one year, the defendant knowingly possessed a firearm; and

                C.     The firearm was transported across a state line at some time during or before

the defendant's possession of it.

        The defendant agrees that he is guilty of the offense charged and each of these elements is

true.


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        3.      PENALTIES:

                A.      STATUTORY PENALTIES: The penalty for the charge set forth in Count

One is not more than 10 years' imprisonment, a fine of not more than $250,000, not more than

three years supervised release, and a $100 special assessment.

                B.      SUPERVISED RELEASE: Supervised release is a period of time following

imprisonment during which defendant will be subject to various restrictions and requirements.

Defendant understands that if defendant violates one or more of the conditions of any supervised

release imposed, the defendant may be returned to prison for all or part of the term of supervised

release, which could result in defendant serving a total term of imprisonment greater than the

statutory maximum stated above.

       4.       WAIVERS:       The defendant acknowledges that he has been advised of and fully

understands the nature of the charges to which the plea is offered, the mandatory minimum penalty

provided by law, if any, and the maximum possible penalty provided by law. The defendant further

understands that by entering into this Agreement and Addendum, he is waiving certain

constitutional rights, including, without limitation, the following:

                A.     The right to appeal or collaterally attack, to the full extent of the law, all

non-jurisdictional issues, including any forfeiture or restitution order, as follows:

                       (1)     the defendant waives the right to appeal all non-jurisdictional issues

including, but not limited to, any issues relating to pre-trial motions, hearings and discovery and

any issues relating to the negotiation, taking or acceptance of the guilty plea or the factual basis

for the plea, including the sentence imposed or any issues that relate to the establishment of the

Guideline range, except that the defendant reserves the right to appeal claims of prosecutorial

misconduct and the defendant reserves the right to appeal the sentence if the defendant makes a



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 contemporaneous objection because the sentence imposed is above the Guideline range that is

 established at sentencing;

                        (2)     the defendant expressly acknowledges and agrees that the United

 States reserves its right to appeal the defendant's sentence under Title 18, United States Code,

 Section 3742(b) and United States v. Booker, 543 U.S. 220 (2005);

                        (3)     the defendant waives all rights to collaterally attack the conviction

 and sentence in any post-conviction proceeding, including one pursuant to Title 28, United States

 Code, Section 2255, except for claims based on ineffective assistance of counsel or prosecutorial

 misconduct;

                        (4)     the defendant waives the right to have the sentence modified

· pursuant to Title 18, United States Code, Section 3582(c)(2);

                        (5)     the defendant waives the right to appeal the Court's determination

 of the amount of restitution and subsequent restitution order, if any; and,

                        (6)     the defendant waives the right to appeal the Court's determination

 of any forfeiture issues and subsequent forfeiture order, if any.

                 B.     The right to plead not guilty or to persist in that plea if it has already been

 made, and the right to a speedy and public trial before a jury;

                 C.     The right to be presumed innocent and to have the burden of proof placed

 on the United States to establish guilt beyond a reasonable doubt;

                 D.     The right to confront and cross examine witnesses;

                 E.     The right to testify in his own behalf if the defendant so chooses, or, the

 right to remain silent and not be compelled to testify, and to have that choice not used against the

 defendant;



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                F.      The right to call witnesses and to require those witnesses to appear by

issuing subpoenas.

        5.      STIPULATIONS:           The United States and the defendant stipulate to the

following:

        A.      The parties agree and stipulate that the defendant's base offense level should be

calculated under United States Sentencing Guidelines Section 2K2. l.

       B.       The parties agree that the defendant should receive a four-level increase to his

base offense level under§ 2K2.l(b)(4)(B) because the firearm the defendant possessed had an

obliterated serial number.

        C.      The defendant is eligible for a two-level reduction for acceptance of responsibility

unless the defendant takes any action between the entry of the guilty plea and imposition of the

sentence that is inconsistent with acceptance ofresponsibility. If the offense level is 16 or

greater, the determination of whether the defendant is eligible for a third level reduction for

acceptance of responsibility will be made by the United States at the time of sentencing.

       D.       The parties stipulate that no other enhancements or reductions under Section 2K,

Chapter 3, or Chapter 5 of the Guidelines apply, other than those specifically set out in this

agreement and its addendum.

       E.       The defendant specifically waives any and all challenges to the searches, seizures,

arrests, statements, and forfeitures that have taken place as of the date of the execution of this plea

agreement by the defendant in this investigation by any entity, and in any forum where the offense

may be pursued and/or forfeiture may be sought. Defendant will assist in executing any requested

waiver of challenge and relinquishment of rights to any and all assets that have been seized to date




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in this investigation by any participating agency or department, in any forum where the forfeiture

may be sought.

        The parties understand that the Court is not bound by these stipulations. The defendant

further understands that if the Court does not accept this Plea Agreement, the defendant is not

entitled to withdraw the guilty plea or otherwise be released from defendant's obligations under

this Agreement and Addendum.

        6.      SENTENCING GUIDELINES: It is specifically understood by the defendant

that the Sentencing Guidelines are not mandatory but are advisory, and that the Court is to consult

them in determining the appropriate sentence. The defendant understands that the determination

of the applicability of the Guidelines and of the appropriate sentence will be made by the Court.

The defendant is aware that any estimate of the probable sentencing range under the Sentencing

Guidelines that the defendant may have received from the defendant's counsel, the United States,

or the Probation Office, is merely a prediction, not a promise, and is not binding on the United

States, the Probation Office, or the Court. The United States makes no promise or representation

concerning what sentence the defendant will receive and the defendant cannot withdraw a guilty

plea, or otherwise avoid the defendant's obligations under this Agreement and Addendum, based

upon the actual sentence imposed by the Court. The parties understand and agree that if the

guideline range is greater or less than the defendant or the United States expected it to be, and/or

the sentence imposed by the Court is greater or lesser than anticipated, neither the defendant nor

the United States will be allowed to withdraw, nor request withdrawal of, the guilty plea, nor be

excused from any obligation under this Agreement and Addendum.

       7.       ALLOCUTION: The United States reserves the right to bring any and all facts

which it believes are appropriate to the attention of the Court.



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             8.      COOPERATION IN THE SENTENCING PROCESS:

                     A.     The defendant agrees to truthfully provide all information to the Probation

     Office as is needed for preparation of the pre-sentence report, including, but not limited to, criminal

     history information. The defendant shall voluntarily provide a complete and truthful written

     accounting of the defendant's criminal history to the Probation Office.

                     B.     The defendant agrees to execute all waivers necessary for the preparation

     of the pre-sentence report.

                     C.     The defendant understands and acknowledges that the defendant's

     obligation of disclosure regarding criminal history is not limited to arrests and convictions reported

     in computer databases, but requires the defendant to disclose all arrests and/or convictions,

     including any juvenile matters, regardless of whether the defendant believes the arrest/conviction

     counts under the Sentencing Guidelines.

                     D.     The defendant is required to comply with these obligations no later than the

     expiration of the date on which objections to the pre-sentence report are due.

            9.       FINANCIAL MATTERS:

                     A.     FINANCIAL STATEMENT: The defendant agrees to fully and truthfully

     complete a Financial Statement provided by the United States Probation Office.

                     B.     FINES: The defendant understands that unless the Court determines that

     the defendant is financially unable to pay a fine, the Court must impose a fine pursuant to the

     Sentencing Reform Act of 1984.

                     C.     SPECIAL PENALTY ASSESSMENT: The defendant agrees to pay to the

     United States a special assessment of $100.00 per count, as required by Title 18, United States

     Code, Section 3013. This special assessment is to be paid by bank cashier's check or money order



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as directed by the Court. Cashier's checks or money orders should be made payable to "Clerk,

United States District Court."

                 D.       RESTITUTION: The parties also state that restitution is not applicable,

and that there are not victims who are due restitution from the defendant.

        10.      DOUBLE JEOPARDY AND SUCCESSIVE PROSECUTION: The United

States Attorney for the Eastern District of Arkansas will bring no further charges against the

defendant for any acts or conduct arisihg out of the events described in the Indictment, which is

the subject of this action, unless the defendant breaches this Agreement and Addendum.

        11.      RECORDS: The defendant hereby waives all rights, whether asserted directly or

by a representative, to request or receive from any department or agency of the United States any

records pertaining to the investigation or prosecution of this case, including without limitation any

records that may be sought under the Freedom of Information Act, 5 U.S.C. Section 552, or the

Privacy Act of 1974, 5 U.S.C. Section 552a.

        12.      CIVIL CLAIMS BY THE GOVERNMENT: Except to the extent otherwise

expressly specified herein, this Agreement and Addendum does not bar or compromise any civil

or administrative claim pending or that may be made against the defendant, including but not

limited to tax matters.

        13.      ASSET FORFEITURE AND FINANCIAL ACCOUNTABILITY:

                 A.       Defendant agrees to forfeit all interests in all property that (1) was used to

commit and to promote the commission of the offenses charged in the Indictment, (2) facilitated

the offenses, and/or (3) the proceeds of the offenses charged in the Indictment including the

following specific property:

        1.) One Smith & Wesson, .40 caliber handgun, with an obliterated serial number.



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               B.       Defendant agrees to hold the United States, its agents and employees

harmless from any claims whatsoever in connection with the seizure or forfeiture of property

covered by this agreement. Defendant further agrees that forfeiture of assets described above shall

not be counted towards satisfaction of any special assessment, fine, restitution, or any other penalty

the court may impose.

               C.       Defendant agrees not to assist any other individual in contesting the

forfeiture of the assets described above and agrees that there was reasonable cause to seize those

items. Defendant also agrees to prevent the disbursement of any and all assets described above if

the disbursements are within Defendant's direct or indirect control.

               D.       Further, Defendant hereby withdraws all previously filed claims to, waives

all interest in, and consents to the forfeiture of the above-described assets. The United States has

the discretion to determine whether the forfeiture will be accomplished through an administrative

or judicial proceeding, which includes any criminal, civil, state, or federal action. Defendant agrees

to consent to the entry of orders of forfeiture for such property and waives the requirements of

Federal Rule of Criminal Procedure 32.2 regarding notice of the forfeiture in the charging

instrument, announcement of the forfeiture at sentencing, and incorporation of the forfeiture in the

judgment. Defendant acknowledges that he understands that the forfeiture of assets is part of the

sentence that may be imposed in this case and waives any failure by the court to advise him of this,

under to Rule 1 l(b)(l)(J), at the time his guilty plea is accepted. Defendant waives any right he

may have to: (1) receive notice of any non-judicial forfeiture proceeding within the time frames

provided in Title 18, United States Code, Section 983, and (2) have the property returned to him

if notice is not sent within those prescribed time frames.
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               E.      Defendant further agrees to waive all constitutional and statutory challenges

in any manner (including direct appeal, habeas corpus, or any other means) to any forfeiture carried

out in accordance with this Plea Agreement on any grounds, including that the forfeiture

constitutes an excessive fine or punishment. Defendant agrees to take all steps as requested by

the United States to pass clear title to forfeitable assets to the United States, including, but not

limited to, the execution of the Consent Decree of Forfeiture and the completion of any other legal

documents required for the transfer of title to the United States.

        14.    EFFECT OF DEFENDANT'S BREACH OF PLEA AGREEMENT AND
               ADDENDUM:

               A.      Defendant acknowledges and understands that if the defendant violates any

term of this Agreement and Addendum, engages in any further criminal activity prior to

sentencing, or fails to appear for any subsequent proceeding including sentencing, the United

States shall have, in addition to all other rights and remedies otherwise available, the right to:

                        (1)    terminate this Agreement and Addendum; or

                        (2)    proceed with this Agreement and Addendum and

                               (a)     deny any and all benefits to which the defendant would

otherwise be entitled under the terms of this Agreement and Addendum; and/or

                               (b)     advocate for any sentencing enhancement that may be

appropriate.

               B.       In the event the United States elects to terminate this Agreement and

Addendum, the United States shall be released from any and all obligations hereunder. The

defendant acknowledges and understands that the agreement of the United States to dismiss any

charge is conditioned upon final resolution of this matter. If this Agreement and Addendum is

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terminated or if the defendant's conviction ultimately is overturned, then the United States retains

the right to reinstate any and all dismissed charges and to file any and all charges which were not

filed because of this Agreement and Addendu,m.

               C.      The defendant hereby knowingly and voluntarily waives any defense based

upon the applicable statute of limitations and/or the Speedy Trial Act, for any charges reinstated

or otherwise filed against the defendant as a result of defendant's breach of this Agreement and

Addendum, so long as the United States initiates any otherwise time barred action within one year

of termination or revocation of this Agreement and Addendum.

               D.      In the event that the Agreement and Addendum is terminated or if the

defendant successfully moves to withdraw his plea, any statement made by the defendant in

negotiation of, or in reliance on this Agreement and Addendum, including this Agreement, the

stipulations in paragraph 5 of this Agreement, and the plea colloquy, but excepting statements

made pursuant to any proffer agreement entered into between the parties:

                       (1)    may be used in the United States' case in chief and to cross examine

the defendant should he testify in any subsequent proceeding; and/or

                       (2)    any leads derived therefrom may be used by the United States.

The defendant waives any and all rights to the contrary and shall assert no claim under the United

States Constitution, any statute, or any rule of procedure or evidence to the contrary, including

Federal Rule of Evidence 410 and Federal Rule of Criminal Procedure 11 (f). Defendant has been

advised of his rights pursuant to Federal Rule of Evidence 410 and Federal Rule of Criminal

Procedure 1 l(f) and waives these rights.

       15.     PARTIES:      This Agreement and Addendum is binding only upon the United

States Attorney's Office for the Eastern District of Arkansas and the defendant. It does not bind
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         any United States Attorney outside the Eastern District of Arkansas, nor does it bind any other

         federal, state or local prosecuting, administrative, or regulatory authority.

                 16.    MISCELLANEOUS:

                        A.      MODIFICATION:           No term or prov1s1on contained herein may be

         modified, amended or waived except by express written agreement signed by the party to be bound

         thereby.

                        B.      HEADINGS AND CAPTIONS:                  Subject headings and captions are

         included herein for convenience purposes only and shall not affect the interpretation of this

         Agreement and Addendum.

                        C.      WAIVER:       No waiver of a breach of any term or provision of this

         Agreement and Addendum shall operate or be construed as a waiver of any subsequent breach or

         limit or restrict any other right or remedy otherwise available. Any waiver must be expressly

         stated in writing signed by the party to be bound thereby.

                        D.      RIGHTS AND REMEDIES CUMULATIVE: The rights and remedies of

         the United States expressed herein upon any breach hereunder by the defendant are cumulative

         and not exclusive of any rights and remedies otherwise available to the United States in the event

         of any breach of this Agreement and Addendum by defendant.

                        E.      JOINT NEGOTIATION:             This Agreement and Addendum has been

         mutually negotiated by the parties hereto, and any uncertainty or ambiguity existing herein shall

         not be interpreted against any party by reason of its drafting of this Agreement and Addendum,

         but instead shall be interpreted according to the application of the general rules of interpretation

         for arm's length agreements.


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        17.     NO OTHER TERMS: This document and the Addendum completely reflect all

promises, agreements and conditions made between the parties, constitute the entire agreement

between the parties and supersedes any and all prior agreements or understandings between the

parties, oral or written, with respect to the subject matter hereof.

        18.     APPROVALS AND SIGNATURES:

                A.     DEFENDANT: The defendant has read this Agreement and Addendum

and carefully reviewed every part of it with his attorney. The defendant understands and

voluntarily agrees to the terms and condition of this Agreement and Addendum. Further, the

defendant has consulted with his attorney and fully understands his rights with respect to the

provisions of the United States Sentencing Guidelines which may apply to this case. No other

promises or inducements have been made to the defendant, other than those expressly contained

in this Agreement and Addendum. In addition, no one has threatened or forced the defendant in

any way to enter into this Agreement and Addendum. Defendant further acknowledges that

defendant has entered into this Agreement and Addendum, consciously and deliberately, by

defendant's free choice, and without duress, undue influence or otherwise being forced or

compelled to do so, and this Agreement and Addendum constitutes the legal, valid and binding

obligation of the defendant, fully enforceable against defendant in accordance with its terms.

Finally, the defendant is satisfied with the representation of his attorney in this case.

               B.      DEFENSE COUNSEL:             Defense counsel acknowledges that she is the

attorney for the defendant, and that she has fully and carefully discussed every part of this

Agreement and Addendum with the defendant. Further, defense counsel has fully and carefully

advised the defendant of the defendant's rights, of possible defenses, and of the consequences of

entering into this Agreement and Addendum, including the possible consequences of not
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     complying with this Agreement and Addendum. To counsel's knowledge, the defendant's decision

     to enter into this Agreement and Addendum is an informed and voluntary decision.


                                        ~~ ...,½
            DATED this   l~       day of...., 2020.

                                                         CODY HILAND
                                                         United States Attorney


                                                      ~-=>
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                                                       Special Assistant United States Attorney
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     Attorney for Defendant




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